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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

GEORGIA COALITION FOR THE
PEOPLES’ AGENDA, INC., as an
organization; ASIAN AMERICANS
ADVANCING JUSTICE-ATLANTA,                Civil Action
INC., as an organization; GEORGIA         Case No. 1:18-cv-04727-ELR
STATE CONFERENCE OF THE
NAACP, as an organization; NEW             AMENDED COMPLAINT FOR
GEORGIA PROJECT, INC., as an               INJUNCTIVE AND
organization; GEORGIA                      DECLARATORY RELIEF
ASSOCIATION OF LATINO
ELECTED OFFICIALS, INC., as an             Section 2 of the Voting Rights Act
organization; PROGEORGIA STATE             of 1965 (52 U.S.C. § 10301);
TABLE, INC., as an organization; THE       Section 8 of the National Voter
JOSEPH AND EVELYN LOWERY                   Registration Act of 1993 (52
INSTITUTE FOR JUSTICE AND                  U.S.C. § 20507); First and
HUMAN RIGHTS, INC, as an                   Fourteenth Amendments to the
organization; and COMMON CAUSE,            United States Constitution
as an organization;

            Plaintiffs,

v.

BRIAN KEMP, in his official capacity as
Secretary of State for the State of
Georgia,

            Defendant.
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                                 INTRODUCTION

      1.     In 2017, Georgia Governor Nathan Deal signed into law House Bill

268, which codified a voter registration database “exact match” protocol that had

been already shown to disproportionately and negatively impact the ability of

voting-eligible African-American, Latino and Asian-American applicants to

register to vote.

      2.     The protocol codified by HB 268, and implemented by Georgia’s

Secretary of State, Defendant Brian Kemp, requires county registrars to enter

information from a voter registration form into Georgia’s statewide voter

registration system known as “Enet.” That information is then matched against

records on file with the Georgia Department of Drivers Services (DDS) or Social

Security Administration (SSA). If the information entered into “Enet” does not

exactly match the applicant’s identity data on file with DDS or SSA, the

application is placed in “pending” status. HB 268 places the burden upon the

applicant to then cure the no match result within 26 months. If this deadline is not

met, or the application is cancelled, and the applicant must start the voter

registration application process anew.

      3.     Under this “exact match” protocol, the transposition of a single letter

or number, deletion or addition of a hyphen or apostrophe, the accidental entry of

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an extra character or space, and the use of a familiar name like “Tom” instead of

“Thomas” will cause a no match result. HB 268 imposes no requirement upon

county registrars to check whether the information from the registration form was

accurately entered into the “Enet” system or to perform any other quality review to

determine whether the no match result was caused by a common error before

relegating the application to “pending” status and putting the burden on the

applicant to cure the no match—even when the no match result was caused through

no fault of the applicant.

       4.     Applicants are also put into pending status if the DDS or SSA records

flag the applicant as a potential non-citizen. United States citizens are routinely

erroneously flagged as non-citizens because the system relies upon citizenship data

in DDS records that are not automatically updated to reflect that an applicant has

attained U.S. citizenship after having previously obtained a driver’s license or state

ID as a non-citizen. Plaintiff organizations have found that registrars often place

such applicants in pending status and send notices demanding they provide proof

of citizenship even when the applicants included their naturalization certificate

with their initial registration.

       5.     HB 268 contains no requirement that county registrars examine

whether proof of citizenship documents were submitted with the registration before

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placing a voter in pending status, despite this known issue caused by outdated DDS

citizenship data. The result is an additional burden on citizens who already took

affirmative steps to prove their citizenship status with their registration.

      6.     HB 268’s matching protocol holds voter registration applicants to a

strict “exact match” standard, even though the matching protocol itself is not a

model of strict accuracy and is prone to erroneous, inconsistent results that are

often not the fault of the applicant. In fact, the SSA Help America Vote

Verification (“HAVV”) database is widely known to routinely produce false no

match and inconsistent results. The error-prone nature of the SSA HAVV matching

process was the subject of an evaluation report by the office of the SSA’s Inspector

General which found, among other things, that the “HAVV program provided the

States with responses that may have prevented eligible individuals from registering

to vote and allowed ineligible individuals to vote.”

      7.     HB 268 was introduced in 2017 on the heels of the settlement of a

lawsuit filed the previous year, which challenged a substantially similar voter

registration database matching protocol that had been implemented

administratively by Defendant Kemp. HB 268 was a transparent effort by the

Georgia General Assembly and Secretary of State’s office to undermine reforms

achieved by that settlement. Governor Deal, the Georgia General Assembly, and

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Defendant Kemp were all on notice that HB 268 would impose severe burdens on

applicants’ right to vote and have a severe discriminatory impact on African-

American, Latino and Asian-American applicants.

      8.     Since the enactment of HB 268, the voter registration verification

process and its implementation by the Georgia Secretary of State’s Office have

continued to produce a high rate of erroneous “no-matches” that disproportionately

impacts African-American, Latino and Asian-American applicants.

      9.     A preliminary review of data produced by the Georgia Secretary of

State’s Office on July 4, 2018 indicates that approximately 51,111 voter

registration applicants were in “pending” status for reasons related to the “exact

match” protocol, i.e., the purported failure to verify against DDS or SSA identity

or citizenship data. Approximately 80.15% of those pending applications were

submitted by African-American, Latino and Asian-American applicants. Only

9.83% of the “pending” for failure to verify applications were submitted by

applicants identifying as White.

      10.    Because of the errors and limitations inherent in the “exact match”

protocol, the 26-month cancellation requirement for “pending” applicants will

undoubtedly result in the cancellation of pending applications that are facially

complete and accurate before the 2020 Presidential election cycle.
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       11.    Unless the Court grants the relief requested herein by Plaintiffs, this

protocol will continue to have a discriminatory impact on African-American,

Latino and Asian-American applicants and will continue to impose severe burdens

on voting-eligible Georgians’ fundamental right to vote that are not justified by

any rational or compelling state interest.


                              JURISDICTION AND VENUE

       12.    This Court has jurisdiction of this action pursuant to 28 U.S.C. §

1343(a) because it seeks to redress the deprivation, under color of state law, of rights,

privileges and immunities secured by the Voting Rights Act and 28 U.S.C. § 1331,

because it arises under the laws of the United States.

       13.    This Court has jurisdiction to grant both declaratory and injunctive

relief, pursuant to 28 U.S.C. §§ 2201 and 2202.

       14.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2),

because a substantial part of the events or omissions giving rise to the claims

occurred in this district.

                                      PARTIES

       15.    Plaintiff THE GEORGIA COALITION FOR THE PEOPLE’S

AGENDA, INC. (“GCPA”) is a Georgia nonprofit corporation with its principal


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place of business located in Atlanta, Georgia. The GCPA is a coalition of more

than 30 organizations, which collectively have more than 5,000 individual

members. The organization encourages voter registration and participation,

particularly among Black and other underrepresented communities. The GCPA’s

support of voting rights is central to its mission. The organization has committed,

and continues to commit, time and resources to conducting voter registration

drives, voter education, voter ID assistance, Souls to the Polls, and other get out

the vote (“GOTV”) efforts in Georgia that seek to encourage voter participation.

Applicants who have submitted voter registration forms through voter registration

drives conducted by the GCOA have had their applications put into “pending”

status due to the “exact match” registration protocol, including the nephew of the

organization’s executive director whose application was put into pending status as

a result of a clerical error by the Fulton County registrar’s office. Georgia’s

“exact match” registration protocol is causing and will continue to cause harm to

the GCPA’s mission of encouraging minority voter registration and participation.

The protocol will cause GCPA to divert a portion of its financial and other

organizational resources to educating voters about the protocol and assisting

potential voters whose applications have been cancelled or put into “pending”

status limbo. As a result, the GCPA has, and will continue to have, fewer resources

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to dedicate to its other organizational activities, including voter registration drives

and GOTV efforts, unless the “exact match” registration protocol of HB 268 is

enjoined.

      16.    Plaintiff ASIAN AMERICANS ADVANCING JUSTICE –

ATLANTA, INC. (“Advancing Justice – Atlanta”) is a non-partisan, nonprofit

organization that was founded in 2010 and is located in Norcross, Georgia.

Advancing Justice – Atlanta protects and promotes the civil rights of Asian

Americans and Pacific Islanders (“AAPIs”) and other immigrant and refugee

communities in Georgia through policy advocacy, legal services, impact litigation,

and civic engagement. As part of its civic engagement efforts, Advancing Justice –

Atlanta engages in voter registration, voter education, and GOTV efforts in

Georgia, with a particular focus on AAPI voters, including newly naturalized

citizens. Upon information and belief, persons of color who attempted to register to

vote through Advancing Justice – Atlanta’s voter registration drives have had their

applications put into “pending” status due to the “exact match” registration

protocol. Georgia’s “exact match” registration protocol is causing and will

continue to cause harm to Advancing Justice – Atlanta’s mission to promote the

rights of the AAPI community. The protocol will cause Advancing Justice –

Atlanta to divert a portion of its financial and other organizational resources to

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educating voters about the protocol and its impact on the registration process. As a

result, Advancing Justice – Atlanta has, and will continue to have, fewer resources

to devote to its other organizational activities, including voter registration drives

and GOTV efforts, unless the “exact match” registration protocol of HB 268 is

enjoined.

      17.    PROGEORGIA STATE TABLE, INC. (“PROGEORGIA”) is a

501(c)(3) nonprofit organization founded in 2012. Its mission is to coordinate the

civic engagement efforts of its nonprofit member groups. PROGEORGIA aims to

increase voter engagement among historically underrepresented voters by

supplying field coordination for voter education and voter mobilization efforts.

Among other activities, PROGEORGIA offers voter registration opportunities at

naturalization ceremonies and facilitates voter registration drives by its member

organizations. Upon information and belief, minority applicants who attempted to

register to vote through registration drives organized by PROGEORGIA have had

their applications put into “pending” status due to the “exact match” registration

protocol. Georgia’s “exact match” registration protocol is causing and will

continue to cause harm to PROGEORGIA’s mission of encouraging minority voter

registration and participation. The protocol will cause PROGEORGIA to divert a

portion of its financial and other organizational resources to educating voters about

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the protocol and assisting potential voters whose applications have been cancelled

or put into pending status. As a result, PROGEORGIA is limited, and will continue

to be limited, to devoting fewer resources to its other organizational activities,

including voter registration efforts. Unless the enforcement of HB 268 is enjoined,

the “exact match” registration protocol will impair PROGEORGIA's voter

registration projects by causing the organization to divert personnel and time to

assisting its member organizations whose efforts to register voters and civic

engagement programs are hindered and made more difficult because of the “exact

match” protocol.

      18.    Plaintiff GEORGIA STATE CONFERENCE OF THE NAACP

(“Georgia NAACP”) is a non-partisan, interracial, nonprofit membership

organization that was founded in 1941. Its mission is to eliminate racial

discrimination through democratic processes and ensure the equal political,

educational, social, and economic rights of all persons, in particular African

Americans. It is headquartered in Atlanta and currently has approximately 10,000

members. The Georgia NAACP works to protect voting rights through litigation,

advocacy, legislation, communication, and outreach, including work to promote

voter registration, voter education, get out the vote efforts, election protection, and

census participation. The Georgia NAACP regularly conducts voter registration

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drives and has submitted many voter registration applications to elections officials

throughout Georgia. Upon information and belief, voter registration applications

filled out by voting-eligible Georgia NAACP members and other voting-eligible

Georgians who submit registration forms through the Georgia NAACP’s voter

registration drives have, and will be, put into pending status and risk having their

applications cancelled as a result of the “exact match” registration protocol

mandated by HB 268. The HB 268 “exact match” protocol has caused, and will

cause, the Georgia NAACP to divert a portion of its financial and other

organizational resources to educating voters about the protocol and assisting

applicants whose applications have been cancelled or put into pending status as a

result of the “exact match” protocol. As a result, the Georgia NAACP has, and will

continue to have, fewer resources to devote to its civic engagement and other

programs, including voter registration drives and GOTV efforts, unless the “exact

match” registration protocol of HB 268 is enjoined.

      19.    Plaintiff, the NEW GEORGIA PROJECT, INC. (“NGP”), is a

Georgia 501(c)(3) not-for-profit corporation. NGP’s mission is to civically engage

Georgians in underrepresented communities. NGP regularly conducts voter

registration drives throughout Georgia. Voter registration drives are a substantial

component of its civic engagement mission. On information and belief, eligible

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minority applicants who attempted to register to vote through registration drives

conducted by NGP have had their applications placed into pending status due to

the voter registration verification protocol mandated by HB 268. Georgia’s exact

match protocol is causing and will continue to cause harm to NGP’s mission of

encouraging voter registration and participation among minority applicants and

underserved communities. The protocol will cause NGP to divert a portion of its

financial and other organizational resources to educating voters about the protocol

and assisting potential voters whose applications have been cancelled or put into

pending status. As a result, NGP is limited, and will continue to be limited, to

devoting fewer resources to its other organizational activities, including voter

registration drives, unless the “exact match” protocol mandated by HB 268 is

enjoined.

      20.    Plaintiff GEORGIA ASSOCIATION OF LATINO ELECTED

OFFICIALS, INC. (“GALEO”) is a non-partisan and nonprofit organization

founded in Georgia under § 501(c)(6) of the Internal Revenue Code. It was

established to increase representation of Latino elected and appointed officials, to

proactively address issues and needs facing the Latino community, and to engage

Georgia’s Latino community in the democratic and political process. It does so

through (1) television, radio and print media Spanish public service

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announcements; (2) widespread distribution of literature regarding voter

registration and other voting-related issues (in both English and Spanish); (3)

administration of a voter information hotline and website (in both English and

Spanish); (4) provision of electronic access to legislative voting records; and (5)

voter mobilization efforts that include voter registration drives, “get out to vote”

phone calls and transporting voters to the polls. Upon information and belief, voter

registration applications filled out by eligible GALEO members and persons whom

GALEO assists in registering to vote will be put into pending status and risk being

cancelled as a result of the voter registration verification protocol mandated by HB

268. Additionally, upon information and belief, minority applicants who attempted

to register to vote through registration drives conducted by GALEO have had their

applications put into “pending” status. Georgia’s “exact match” protocol is causing

and will continue to cause GALEO to divert a portion of its financial and other

organizational resources to educating voters about the protocol and assisting

potential voters whose applications have been cancelled or put into pending status.

As a result, GALEO has, and will be, forced to divert resources away from other

organizational activities, including voter registration drives and GOTV efforts

because of the “exact match” protocol mandated by HB 268 unless the Court

grants the remedial relief herein requested.

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      21.    Plaintiff THE JOSEPH AND EVELYN LOWERY INSTITUTE FOR

JUSTICE AND HUMAN RIGHTS (“Lowery Institute”) is a non-partisan,

nonprofit organization that was founded in 2001 and is located in Atlanta, Georgia.

The vision of the Lowery Institute is to ensure that everyone has a political voice

and has the tools to be change agents in their community. The Institute serves its

mission by focusing on civil and human rights, social justice, education, and

community health. As part of its civic engagement efforts, the Lowery Institute

conducts voter registration efforts in Georgia focused on college students and

younger voters of color. Upon information and belief, persons of color who

attempt to register through the Lowery Institute’s voter registration drives have had

their applications put into “pending” status due to the “exact match” registration

protocol. Georgia’s “exact match” registration protocol is causing and will cause

harm to the Lowery Institute’s mission to promote the rights of college students

and younger voters of color. The protocol will cause the Lowery Institute to divert

a portion of its financial and other organizational resources to educating voters

about the protocol and its impact on the registration process. As a result, the

Lowery Institute has, and will continue to have, fewer resources to devote to its

other organizational activities, including its civic engagements efforts, unless the

“exact match” registration protocol of HB 268 is enjoined.

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      22.    Plaintiff COMMON CAUSE is a nonprofit corporation organized and

existing under the laws of the District of Columbia. It is one of the nation’s leading

grassroots democracy-focused organizations and has over 1.2 million members

nationwide and chapters in 35 states, including 18,785 members and supporters in

Georgia. Since its founding in 1970, Common Cause has been dedicated to the

promotion and protection of the democratic process, including the right of all

citizens to vote in fair, open, and honest elections. Common Cause, at the national

level and in Georgia, conducts significant nonpartisan voter-protection, advocacy,

education, and outreach activities to endure that voters are registered and have their

ballots counted as cast. From Georgia, over the last five years, its efforts have

increased in the areas of election protection, voter education, and grassroots

mobilization around voting rights in the state. Common Cause works on election

administration issues with its coalition, much of which is represented by the other

plaintiffs in the instant lawsuit. As of 2017, Common Cause, alongside its partners

at New Georgia Project, Asian Americans Advancing Justice, ACLU of Georgia,

and Spread the Vote, created a program to help recruit volunteers to monitor local

board of elections meetings through the Peanut Gallery program. Common Cause

also works with these partners in election protection efforts during both midterm and

presidential elections. Through its volunteer recruitment for poll monitors, Common

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Cause Georgia is on track to help monitor an average of five polling locations in 22

counties for a total of 110 polling places. Common Cause Georgia additionally

engages in online petition drives, soliciting signatures from its members and

supporters urging government officials to take certain actions. For example, it urged

the Randolph County Board of Elections to vote against polling place closures (the

petition drew 13,840 signatures). And just last week, Common Cause informed its

membership that the Georgia Secretary of State was holding up roughly 53,000 voter

registration applications due to the “exact match” law; as of October 14, 2018,

53,476 members and supporters signed a petition asking the Secretary of State to

cease this unconstitutional practice. Indeed, the practice of using an “exact match”

system impacts Common Cause’s work, as its election protection program focuses

on providing resources that enable voters to participate and be educated on the

questions they should ask if their registration status is pending on the voter rolls.

Common Cause now must double its efforts to counter this latest challenge where

tens of thousands of Georgians could be impacted. As a result, Common Cause has,

and will continue to have, fewer resources to devote to its other organizational

activities unless the “exact match” registration protocol of HB 268 is enjoined.




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      23.     Defendant BRIAN KEMP is being sued in his official capacity as

Georgia’s Secretary of State. Secretary Kemp’s responsibilities include

maintaining the state’s official list of registered voters and preparing and

furnishing information for citizens pertaining to voter registration and voting. Ga.

Code Ann. §§ 21-2- 50(a), 21-2-211. Defendant Kemp also serves as the

Chairperson of Georgia’s State Election Board, which promulgates and enforces

rules and regulations to obtain uniformity in the practices and proceedings of

election officials and is responsible for promoting the fair, legal, and orderly

conduct of all primaries and elections in the state. Id. §§ 21-2-30(d), 21-2-31, 21-2-

33.1. Finally, Defendant Kemp is the chief election official responsible for the

coordination of Georgia’s list maintenance responsibilities under the National

Voter Registration Act of 1993 (NVRA) and the Help America Vote Act of 2002

(HAVA). Id. §§ 21-2-210, 21-2-50.2.

                          FACTS AND BACKGROUND

            Voter Registration in Georgia under State and Federal Law

      24.     A voter must be registered as an elector in Georgia to cast a ballot that

counts in any election held in the state. Ga. Code Ann. § 21-2-216(a)(1).

      25.     Pursuant to HAVA, the State of Georgia must maintain a centralized,

computerized, statewide voter registration database as the single system for storing

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and managing Georgia’s official list of registered voters. 52 U.S.C. §

21083(a)(1)(A). The registration database must be coordinated with other agency

databases within the state. Id; see also Ga. Code Ann. § 21-2-216(g)(7).

      26.    This allows matching across databases, where possible, to alleviate

other voter identification requirements under HAVA, as described below.

      27.    HAVA imposes certain identification requirements for first-time

voters. 52 U.S.C. § 21083(a)(5). Voter registration applicants who have been

issued a current and valid driver’s license must provide their driver’s license

number on the application. 52 U.S.C. § 21083(a)(5)(A). Applicants who lack a

current driver’s license must provide the last four digits of their social security

number. Id. If an applicant does not have either, the state must assign the

applicant a unique identifier for voter registration purposes. Id.

      28.    HAVA requires that Georgia’s chief election official enter into an

agreement with the Georgia Department of Driver Services (DDS) “to match

information in the database of the statewide voter registration system with

information in the database of the motor vehicle authority to the extent required to

enable each such official to verify the accuracy of the information provided on

applications for voter registration.” 52 U.S.C. § 21083(a)(5)(B). Further, DDS




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must enter into an agreement with the Commissioner of Social Security for the

same purpose. Id.

      29.    But the HAVA matching protocol is just one potential voter

identification method under HAVA. HAVA does not mandate that voter

registration applications be put into “pending” status or canceled if the information

contained on the application fails to exactly match fields in the DDS or SSA

databases. To the contrary, under the NVRA and HAVA, all eligible applicants

that submit complete, accurate registration forms must be registered to vote in

federal elections.

      30.    All applicants who register by mail and have not previously voted in a

federal election must provide proof of identification either with their registration

application or when voting for the first time. 52 U.S.C. § 21083(b). Satisfactory

proof of identification (HAVA ID) includes a match with DDS or SSA records but

also includes a copy of a current utility bill, bank statement, government check,

paycheck, other government document showing the name and address of the voter,

or any current and valid photo identification. 52 U.S.C. § 21083(b)(2)(A).

      31.    First-time voters can submit a copy of their HAVA ID along with

their ballot if they choose to vote by mail. 52 U.S.C. § 21083(b)(2)(A)(ii). If they

choose to vote in person, first-time voters can present their current and valid photo

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identification or a copy of other HAVA ID to the election official or poll worker.

52 U.S.C. § 21083(b)(2)(A)(i).

      32.    Thus, HAVA does not mandate that states cancel voter registration

applications or put applications in pending status when they fail to exactly match

the applicant’s records on file with DDS or SSA. Rather, the SSA and DDS

matching is just one of several options for identification for first-time voters. If

there is no match, the NVRA still requires eligible voters to be registered, and

HAVA only requires that applicants show a form of HAVA ID when they vote for

the first time if they registered by mail.

                   HB 268’s Exact Match Registration Protocol

      33.    HB 268’s “exact match” registration protocol turns HAVA matching

on its head by making a proper “match” a requirement that can lead to the

cancellation or rejection of registration rather than one of several options for

proving identity when voting for the first time. The protocol is unlawful because it

imposes unnecessary and discriminatory burdens on the voter registration process.

      34.    HB 268 states that “a voter registration application may be accepted as

valid only after the board of registrars has verified the authenticity of the Georgia

driver's license number, the identification card number of an identification card




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issued pursuant to Article 5 of Chapter 5 of Title 40, or the last four digits of the

social security number provided by the applicant.”

      35.    It further provides that the authenticity of the Georgia driver’s license

number, state identification card number of last four digits of the social security

number provided by the applicant may be accomplished by two methods:

      (1) The board of registrars matching the Georgia driver's license number,
      identification card number of an identification card issued pursuant to
      Article 5 of Chapter 5 of Title 40, or the last four digits of the social
      security number provided by the applicant with the applicant's record on
      file with the Department of Driver Services or the federal Social Security
      Administration; or

      (2) The applicant providing sufficient evidence to the board of registrars to
      verify the applicant's identity, which sufficient evidence includes, but is not
      limited to, providing one of the forms of identification listed in subsection
      (a) of Code Section 21-2-417.”


      36.    If the application is not “verified” by one of these methods within 26

months, the voter’s registration application must be rejected, even if it is facially

complete and accurate.

      37.    The “exact match” registration protocol in Georgia predates HB 268.

It was first implemented in approximately 2009 via an administrative policy of

Defendant Kemp.




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      38.    The “exact match” registration protocol under HB 268 functions in a

very similar manner to Defendant Kemp’s prior failed “exact match” administrative

policy. Upon information and belief, HB 268 is enforced as follows.

      39.    First, the automated system matches voter registration data to the DDS

or SSA databases. When matching registration data against the DDS database, it

compares the following fields: first name, last name, date of birth, driver’s license

or state ID number, and citizenship status. When matching registration data against

the SSA database, it compares the following fields: first name, last name, date of

birth, and last four digits of the social security number.

      40.    In the common event that the data in one of the fields of the DDS or

SSA databases does not match exactly with the information provided on the voter

registration application, the ENET system sends a report to the local registrar. The

report identifies whether the information in the application failed to match with

information in the DDS or the SSA database.

      41.    If a “no-match” applicant provided a driver’s license or state ID

number on the voter registration application, and information in one of the data

fields fails to match the information in the DDS database, the report produced by

ENET identifies the exact fields that failed to match.




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      42.      If a “no-match” applicant provided the last four digits of a social

security number on the voter registration application, and information in one of the

data fields failed to match the information in the SSA database, the report

produced by ENET does not provide any details to the local registrar about which

fields failed to match. The report to the local registrar only returns a code “Z,”

which indicates that the information from any or all of the data fields did not match

to one or more records in the SSA database.

      43.      County election officials from all 159 Georgia counties enter data into

ENET. Unsurprisingly, clerical errors often occur at the county level that lead to

“no-match” results and voters being placed in “pending” status and at risk of

having their applications cancelled after 26 months. HB 268 does not require

county registrars to investigate the reasons for a verification failure and, where

appropriate, resolve the issue without placing the burden on the applicants.

      44.      Any data entry errors that occur when applicants’ personal information

is entered into the DDS or SSA databases will similarly lead to false “no-match”

errors.

      45.      The SSA database is particularly prone to errors. In 2009, the Social

Security Administration Office of the Inspector General produced a report assessing

the accuracy of its “Help America Vote Verification program” (HAVV), the

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matching program upon which HB 268 relies. A copy of this report is attached

and incorporated herein by reference as Exhibit 1.

        46.   The Inspector General report concluded that “the HAVV program may

indicate a no-match when a match does in fact exist in SSA records” due to “the

limitations of the matching criteria” and that “the high no-match response rate and

the inconsistent verification responses could hinder the States’ ability to determine

whether applicants should be allowed to vote.” Id.

        47.    The report also indicated that the HAVV program’s “no-match

response rate was 31 percent, while the no-match response rate for other verification

programs used by States and employers ranged from 6 to 15 percent.” Id.

        48.   Because of the flaws that cause erroneous no match results from “exact

match” voter registration protocols like the one required by HB 268 and the

consequent burden on applicants, a number of states have declined to enact or

enforce existing “exact match” laws. For example, Virginia Governor, Terry

McAuliffe vetoed Virginia Senate Bill 1581 during the Commonwealth’s 2017

legislative session. Senate Bill 1581 would have imposed an “exact match” voter

registration requirement on Virginians when they registered to vote. The Virginia

Senate sustained the veto.1 Wisconsin also scrapped plans to adopt an “exact match”


1
    http://lis.virginia.gov/cgi-bin/legp604.exe?171+sum+SB1581
                                         24
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voter registration protocol after four of the six judges charged with overseeing the

state’s elections failed the exact match protocol in a test run.2

      49.    Washington State settled a legal challenge to its “exact match” voter

registration protocol by agreeing to provisionally register applicants to vote who

failed the state’s “exact match” voter registration process.3 Once provisionally

registered, the voters are placed on the state’s voter list but are required to show ID

when they vote in order to have their ballots count.4

      50.    As a result of a legal challenge to its “exact match” law,5 Florida also

made changes to make the process less burdensome on applicants. For example,

Florida’s Bureau of Voter Services (BVS) must review every application that fails

the matching process to determine whether the matching failure can be explained by

common errors that are readily correctable by the BVS without burdening the



2
  Adam Skaggs, Brennan Center for Justice, “No Match” Dropped after 4 of 6
Judges Fail: https://www.brennancenter.org/blog/no-match-dropped-after-4-6-
judges-fail.
3
  Washington Ass’n of Churches v. Reed, 492 F. Supp. 2d 1264 (W.D. Wash. 2
006); see also id., No. CV06-0726RSM, slip op. at 3 (W.D. Wash. March 16,
2007), available at: http://moritzlaw.osu.edu/electionlaw/litigation/
documents/STIPULATEDFINALORDERANDJUDGMENTbyJudgeRicardoSMar
tinez.pdf
4
  Id.
5
  Florida State Conference of the NAACP v. Browning, 569 F. Supp. 2d 1237
(N.D. Fla. 2008), rev’d in part and remanded, 522 F.3d 1153 (11th Cir. 2008).

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applicant or county supervisors of elections.6 If the BVS cannot resolve the matching

issue, BVS forwards the matter to the county supervisor of elections who then issues

a letter to the applicant explaining that he or she will need to show ID in order to

complete the registration process and vote.7 Unlike HB 268, Florida law does not

mandate the cancellation of applications that fail the matching protocol after a

specified period of time.8

      51.    Unlike HB 268, New York law requires that voter registration

applicants be given at least two written notices when the Board of Elections is unable

to verify the identity of a voter registration applicant by matching their application

data against motor vehicle, Social Security or other lawful available source. The

notices inform the applicants that if they fail to supply information to correct

inaccuracies in the application or provide additional information to the Board of

Elections before they vote, they may be requested to produce identification at the

polls.9 Unlike HB 268, New York’s law does not impose any deadline by which

applicants must resolve the matching issue to avoid cancellation of their voter

registration application.10


6
  Fla. Administrative Code r.1S-2.039(5)(a)(1)-(5).
7
  Id.
8
  F.S.A. § 97.053(6).
9
  McKinney's N.Y. Election Law § 5-210(8)-(9).
10
   Id.
                                         26
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      52.    The primary difference between Defendant Kemp’s prior failed policy

and HB 268 is the amount of time voters are given to “cure” the mismatch. Under

Defendant Kemp’s prior administrative process, the protocol required that election

officials cancel a failure to verify application after 40 days if the applicant did not

“cure” the matching issue prior to that time. The result was disenfranchisement of

tens of thousands of applicants.

      53.    When Defendant Kemp settled the prior litigation challenging his

administrative “exact match” voter registration process, Defendant Kemp agreed

that no outside deadline would be imposed upon applicants to “cure” a matching

issue, thus implicitly recognizing that such a deadline was not required by HAVA

or existing Georgia law.

      54.    Under HB 268, the “exact match” registration protocol is nearly

identical in its flagging of tens of thousands of eligible applicants, the majority of

whom are minority applicants, for potential cancellation. The primary difference is

that HB 268 allows applicants a longer time period—26 months—to “cure” the

“no-match.” But eligible applicants who turn in complete and accurate registration

forms should not be at risk of cancellation regardless of whether they are given 40

days or 26 months to “cure” an error that is often not of their own making.




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      55.    Once a voter registration application has been cancelled as a result of

the “exact match” protocol, the applicant must register anew prior to the fifth

Monday before an election in order to vote in that election. If the applicant’s voter

registration application is cancelled by the “exact match” protocol close in time to

the voter registration deadline, the applicant may not be able to submit another

timely application prior to the election and will be disenfranchised.

      56.    An additional risk is posed to voters in “pending” status because HB

268 does not mandate that they be informed of when the cancellation period begins

or ends. Consequently, Defendant Kemp’s office has drafted notice letters that are

issued to applicants in “pending” status that fail to inform applicants when the

cancellation period begins or ends. This is especially problematic because with

Defendant Kemp’s implementation of HB 268, the cancellation period begins

running when a county registrar prints the notice letter to the applicant from the

registrar’s computer system - a date which is not known to the applicant. Thus,

applicants run the risk of having their applications cancelled because the notice

letters fail to provide them with any notice of when they must act to avoid having

their applications cancelled. Since no subsequent warnings or notices are given to

the applicants in pending status, there is a very real danger that the applicants will




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have no idea what the actual deadline is by which they need to “cure” the exact

match failure before the application is canceled.

      57.    Finally, there is an immediate risk that voters casting absentee ballots

will be disenfranchised under the regime created by H.B. 268. Previously, pursuant

to Georgia law and the Help America Vote Act, voters could cast an absentee ballot

if they submit a copy of a current utility bill, bank statement, government check,

paycheck, or other government document showing the name and address of the

voter. 52 U.S.C.A. § 21083(b)(2)(A)(ii); O.C.G.A. § 21-2-417(c).

      58.    H.B. 268 prevents first-time absentee voters who are inaccurately

flagged as a non-match from presenting the non-photographic forms of identification

that were permitted by HAVA. Under H.B. 268, applicants prove their identity to

local election officials by “providing one of the forms of identification listed in

subsection (a) of Code Section 21-2-417,” not subsection (c). O.C.G.A. § 21-2-

220.1(c)(2). Subsection (a) refers solely to six forms of photographic identification.

O.C.G.A. § 21-2-417(c).

      59.    Voters who submit copies of non-photographic forms of identification

with their absentee ballots are at imminent risk being disenfranchised in the

November 2018 election and beyond due to H.B. 268.




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  Defendant Kemp’s Failure to Provide Safeguards for Naturalized Citizens
        Who Enclose Proof of Citizenship with Registration Records

      60.    Defendant Kemp’s unyielding application of HB 268 has been

especially pernicious in the context of naturalized citizens because of the failure to

put into place proper safeguards for naturalized citizens who submit proof of their

citizenship with their initial application.

      61.    Many naturalized citizens receive assistance when registering to vote

at naturalization ceremonies in Georgia and regularly include copies of their

naturalization certificates or other proof of citizenship when they submit voter

registration applications.

      62.    For newly naturalized citizens, the HB 268 matching protocol can

result in a flag for non-citizenship. This can occur if an individual was not a citizen

at the time he or she obtained a driver’s license because DDS records do not

automatically update citizenship status after naturalization. Many naturalized

citizens are thus placed into “pending” status by county registrars for purportedly

failing to verify for citizenship and are subject to having their applications

cancelled after 26 months.

      63.    These citizens receive notices informing them that they must prove

their citizenship despite enclosing precisely that proof with their original

registration applications.
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      64.       Upon information and belief, Secretary Kemp has no procedures in

place to require election officials to check applicants’ submissions for proof of

identity or citizenship before placing applicants in “pending” status and demanding

that applicants re-submit that same documentation.

      65.       For naturalized citizens, this failure is particularly onerous because a

citizenship status issue will not always be resolvable at the polls. Therefore,

eligible naturalized citizens that submit valid and accurate voter registrations,

including proof of citizenship, are at risk of having their right to vote denied on

election day.

      66.       Voter registration applicants who are inaccurately flagged as a non-

match based on citizenship are differently situated than applicants who are in

pending status due to a non-match based on another field, such as name or driver’s

license number. Applicants who are in pending status due to a non-match based on

another field should be permitted to cast a regular ballot if they provide proof of

identity to a poll worker, whereas voters in a pending status due to a non-match

based on citizenship must provide proof of identity to a “deputy registrar” – and

most poll workers in Georgia are not deputy registrars. These applicants might

therefore be required to take a trip to the county board of elections on Election Day

to find such an individual. Moreover, upon information and belief, such applicants

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who seek to vote by mail because of temporary absence from the state have been

told they must provide their proof of citizenship in person—something that is

physically impossible given their absence. The primary risk to applicants in

pending status due to a non-match based on fields other than citizenship is that

they will not vote in an election cycle and be completely purged from the rolls

once the 26-month window passes, oftentimes without their knowledge.

              The Exact Match Registration Protocol Disproportionately
                             Impacts Minority Voters

      67.    The General Assembly enacted HB 268 with ample notice that it would

sharply and disproportionately impact the ability of African-American, Latino, and

Asian-American applicants to complete the voter registration process.

      68.    Defendant Kemp’s administrative “exact match” protocol resulted in

the cancellation of tens of thousands of voter registration applications between 2010

and 2016. Between July 2013 and July 2015 alone, approximately 34,874 voter

registration applications were cancelled as a result of a “no-match” against DDS and

SSA records. Approximately 76.3% of the canceled applications were submitted by

applicants who identified as African-American, Latino or Asian-American

applicants while only 13.6% were submitted by applicants identifying as White.

      69.    Since the enactment of HB 268, the voter registration verification

process and its implementation by the Georgia Secretary of State’s Office have
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continued to produce a high rate of erroneous “no-matches” that disproportionately

impacts African-American, Latino and Asian-American applicants.

       70.       A preliminary review of data produced by the Georgia Secretary of

State’s Office on July 4, 2018 indicates that approximately 51,111 voter

registration applicants are in “pending” status for reasons related to the failure to

verify against DDS or SSA identity or citizenship data. Approximately 80.15% of

those pending applications were submitted by African-American, Latino and

Asian-American applicants. Only 9.83% of the “pending” for failure to verify

applications were submitted by applicants identifying as White.

       71.       Thus, the voter registration verification process mandated by HB 268

is continuing to disproportionately and negatively impact the ability of minority

applicants to complete the voter registration process so that they can exercise their

right to vote.

         HB 268’s Disparate Burdens on Minority Applicants Are Linked to
             Social and Historical Conditions of Discrimination

       72.       Georgia’s voter registration verification process under HB 268 works

in concert with historical, socioeconomic, and other electoral conditions in

Georgia to deny African-American, Latino, and Asian-American voter registration



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applicants an equal opportunity to register to vote and participate in the political

process, in violation of Section 2 of the Voting Rights Act.

      73.    Persistent and significant disparities in socioeconomic status and voter

participation among minority communities in Georgia are the result of Georgia’s

unfortunate history of pervasive racial discrimination. Because of these disparate

social and economic conditions, including poverty, unemployment, lower

educational attainment, and lack of access to transportation, African-American,

Latino and Asian-American applicants are disproportionately burdened by the

Georgia exact match protocol.

      74.    According to the 2016 American Community Survey five-year

estimate (“ACS”), there are significant racial disparities in income levels. The

median income in Black households in Georgia is $37,887; in Latino households,

$41,157; and in White households, $59,595. U.S. Census Bureau, 2012-16

American Community Survey 5-Year Estimates, Tables B19013B, B19013H, and

B19013I.

      75.    The 2016 ACS also indicates that 26 percent of Georgia’s Black

residents live in poverty, while the poverty rate is 27 percent among Latino

residents, 13 percent among Asian-American residents, and 12 percent among




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White residents. U.S. Census Bureau, 2012-2016 American Community Survey 5-

Year Estimates, Tables B17001B, B17001D, B17001H, B17001I.

      76.   There are racial disparities in language proficiency rates in Georgia as

well. While 38.1 percent of Latino residents and 36 percent of Asian residents

speak English less than “very well,” less than 1 percent of non-Hispanic White

residents are estimated to speak English less than “very well.” U.S. Census Bureau,

2012-2016 American Community Survey 5-Year Estimates, Tables B16005D,

B16005H, B16005I.

      77.   Racial disparities also persist in education levels. For example, 2012-

2016 ACS data indicate that 15.1 percent of Black residents, 40 percent of Latino

residents and 14.1 percent of non-Hispanic White residents in Georgia did not

graduate from high school. And 22.1 percent of Black residents, 14.2 percent of

Latino residents, and 31.5 percent of non-Hispanic White residents graduated from

college. U.S. Census Bureau, 2012-2016 American Community Survey 5-Year

Estimates, Tables C15002B, C15002H, C15002I.

      78.   There is also a racial disparity in vehicle ownership rates. The

percentage of households without a vehicle is 13.3 percent in Georgia among

Black households, 8.7 percent among Latino households, and 4.5 percent among

Asian-American households. Only 3.5 percent of White households are without a

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vehicle. U.S. Census Bureau, 2006-2010 American Community Survey 5-Year

Estimates, Table DP04.

      79.    These socioeconomic disparities, caused by the continuing effects of

historical and modern racial discrimination, are directly linked to the disparate

burdens HB 268 imposes on minority applicants.

      80.     First, a history of discrimination and resulting socioeconomic

disparities in Georgia has led to a disparity in driver’s license and Georgia ID

ownership rates between White and Black voters. In 2006, the Secretary of State

of Georgia issued a report revealing that 676,246 registered Georgia voters either

had no record of a Georgia driver’s license or ID issued, or had their licenses

revoked, suspended, canceled, denied, or surrendered. Common Cause/Ga. v.

Billups, 439 F.Supp.2d 1294, 1311 (N.D. Ga. 2006). While 27.8 percent of the

voters on the registration list were Black, 35.6 percent of voters who lacked a

driver’s license or Georgia ID card were Black. Id.

      81.    Because Black voter registration applicants are less likely than White

applicants to own a Georgia driver’s license or state ID card, they are more likely

to have to provide the last four digits of their social security number for

verification and, as noted above, applicants using the last four digits of their Social

Security number to register to vote are submitted for matching through the SSA’s

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HAVV database which has been demonstrated to have a high no-match rate,

produces inconsistent results and can cause eligible applicants to be erroneously

denied the right to vote.

      82.    The Georgia exact match protocol also turns the act of filling out a

voter registration application into an unduly challenging exercise. The protocol

imposes an additional requirement on applicants who make a minor mistake by

requiring them to contact election officials and provide updated information to

complete their application. These insubstantial errors will lead to a mismatch

under the current protocol, requiring voters to “update” their information without

clear guidance or identification of the initial error.

      83.    Eligible voter registration applicants with lower levels of educational

attainment, a lower level of proficiency in English, or less familiarity with

bureaucratic procedures are more likely than other applicants to make minor,

insubstantial mistakes when completing their voter registration applications or

driver’s license or other /Georgia ID applications than other applicants.

      84.    These same factors also make it more difficult for these voters to

navigate the bureaucratic process after they have been placed into pending status

and are sent a notification letter.




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          85.   Notification letters, other than those sent in Gwinnett County—which

is a covered jurisdiction for Spanish language access under Section 203 of the

Voting Rights Act—are provided only in English. Applicants who are limited

English proficient have more difficulty understanding the notification letter. They

also face additional challenges when communicating with election officials and

completing other tasks required to remedy the problem with their registration

status.

          86.   In addition, minority applicants are more likely than White applicants

to work multiple jobs, have inflexible schedules, maintain irregular work hours,

lack access to transportation, or suffer from financial hardship or economic

displacement. It is more difficult for these applicants to follow up with election

officials in a timely manner than those who have access to transportation, can

afford to take time off from work, and have a flexible schedule.

                      Racial Discrimination in Voting in Georgia

          87.   There is a long—and well-documented—history of voting-related

discrimination against Blacks in Georgia. See Georgia State Conference of the

NAACP v. Fayette County Bd. of Comm’rs, 950 F.Supp.2d 1294, 1314-16 (N.D.

Ga. 2013); see also Johnson v. Miller, 864 F. Supp. 1354, 1379-80 (S.D. Ga.

1994), aff'd and remanded, 515 U.S. 900 (1995) (noting that “we have given

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formal judicial notice of the State’s past discrimination in voting, and have

acknowledged it in the recent cases”).

      88.    And discrimination in voting is not a relic of Georgia’s past. Modern

examples of discrimination in voting in Georgia are also well-documented,

including in the congressional record supporting the 2006 reauthorization of the

Voting Rights Act.

      89.    For example, in 2005, Georgia adopted a strict photo identification

requirement for voting. The 2005 photo ID law required individuals lacking photo

ID to pay $20 for a photo ID card or to sign an affidavit declaring indigency. Only

after a federal court enjoined its original photo ID bill did the Georgia Legislature

revise its photo ID law in 2006 to allow for more equal access to the necessary

photo ID.

      90.    The Georgia Secretary of State’s office also has a history of hostility

toward third-party voter registration activity.

      91.    Organizations that serve communities of color are responsible for a

substantial portion of the third-party voter registration activity in Georgia.

      92.    In 2005, a charitable and educational organization affiliated with the

predominantly African-American Alpha Phi Alpha fraternity and a voter were

forced to file suit against former Georgia Secretary of State Cathy Cox because her

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office refused to accept 64 completed voter registration applications submitted by

the organization. The organization prevailed in its lawsuit. Charles H. Wesley

Education Foundation v. Cox, 408 F.3d 1349 (11th Cir. 2005).

      93.    In 2010, the Georgia Secretary of State’s office aggressively pursued

an investigation of a dozen Black voting organizers in Brooks County that led to a

criminal prosecution. The investigation followed the election of the county’s first-

ever majority-Black school board, which was catalyzed by the get-out-the-vote

activists. None of the organizers were convicted even though they were initially

charged with more than 100 election law violations and more than 1,000 combined

years in prison. The Georgia Attorney General subsequently issued an opinion

saying that the organizers’ alleged crime—mailing absentee ballots by a third

party—is permissible under state law.

      94.    In 2016, the Georgia Senate passed Senate Resolution 675 (“SR

675”), which sought to amend the Georgia Constitution to make English the state’s

official language and prohibit the use of any language other than English in any

Georgia state or local government document, proceeding, or publication. SR 675

would have prohibited the dissemination of ballots and other election-related

documents in any language other than English in violation of federal law. After

more than 200 ethnic business groups, churches, and other organizations

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condemned or lobbied against SR 675, the House did not pass SR 675 prior to the

end of the legislative session.

      95.    The origins of the “exact match” registration protocol are part and

parcel of this history of modern discrimination in voting.

      96.    The Georgia Secretary of State’s office began implementing a

predecessor version of the current “exact match” protocol shortly before the 2008

presidential election without first obtaining preclearance. The U.S. District Court

for the Northern District of Georgia held that doing so violated Section 5 of the

Voting Rights Act. Morales v. Handel, 2008 WL 9401054, C.A. No. 1:08-CV-

3172 (N.D. Ga. 2008).

      97.    After the Secretary of State finally did submit the protocol for

preclearance, the U.S. Department of Justice (“DOJ”) objected to Georgia’s

submission of the 2008 “exact match” protocol. The DOJ concluded that the initial

version of the program relied on an error-laden and “possibly improper” usage of

the Social Security Administration’s HAVV system and outdated Georgia

Department of Driver Services data in an attempt to find non-citizens. Letter from

Loretta King, Acting Asst’t Att’y Gen., Dep’t of Justice, to Ga. Att’y Gen.

Thurbert E. Baker, May 29, 2009, available at http://www.justice.gov/crt/voting-

determination-letters-georgia. It caused thousands of legitimately naturalized

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citizens (as well as many natural-born citizens) to be incorrectly flagged as

ineligible non-citizens.

      98.     The letter concluded that the “flawed system frequently subjects a

disproportionate number of African-American, Asian, and/or Hispanic voters to

additional and, more importantly, erroneous burdens on the right to register to

vote.” Id. at 4.

      99.     While a later iteration of the “exact match” protocol was precleared in

2010, it is not apparent that the Secretary of State ever followed the safeguards

promised in the preclearance submission that led to its approval.

      100. Moreover, since implementing the “exact match” protocol in 2010,

the Georgia Secretary of State’s office was made aware repeatedly by the

Department of Justice and concerned individuals and organizations that its

registration protocol, in practice, disproportionately burdens eligible minority

applicants.

      101. Nevertheless, HB 268 was signed into law, codifying an error-prone

“exact match” process that has predictably continued to cause tens of thousands of

prospective Georgia applicants—the vast majority of whom identify as African-

American, Latino and Asian-American—to be placed in “pending” status limbo

with a risk of their application being cancelled after 26 months. Neither Secretary

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Kemp, nor the Georgia Legislature, appear concerned about the disproportionate

impact this “exact match” protocol is having on the ability of African-American,

Latino and Asian-American applicants to complete the voter registration process.

While other states have abandoned or reformed similar registration verification

processes to limit the burden on their citizens, Defendant Kemp has failed to take

any steps to ameliorate HB 268’s disproportionate burden on minority applicants.

      Other Factors Relevant to the Totality of Circumstances in Georgia

      102. There is a majority vote requirement in all elections in Georgia, which

makes it more difficult for Black, Latino, and Asian-American voters to elect

candidates of choice because they comprise a minority of the electorate.

      103. Voting patterns in Georgia are racially polarized. Courts have

repeatedly held that racially polarized voting exists at the statewide, county, and

local levels. See, e.g., Georgia v. Ashcroft, 195 F.Supp.2d 25, 88 (D.D.C. 2002),

rev’d on other grounds, 539 U.S. 461 (2003); Georgia State Conference of the

NAACP v. Fayette County Bd. of Comm’rs, 950 F.Supp.2d 1294, 1314-16 (N.D.

Ga. 2013), vacated and remanded on other grounds, 775 F.3d 1336 (11th Cir.

2015).

      104. Blacks, Latinos, and Asian-Americans have not been elected to public

office in Georgia at a rate that is commensurate with their share of the population.

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All of the current statewide elected officials are White, and non-White Georgians

are underrepresented in the Georgia House of Representatives and Senate, as well

as in the state’s congressional delegation.

        105. Voter fraud is extremely rare in Georgia.

        106. The Georgia “exact match” registration protocol is tenuously, if at all,

related to the goal of preventing voter fraud. It adds nothing to the identification

procedures of HAVA but endangers the valid registration of tens of thousands of

eligible Georgia voters.


                        COUNT ONE
  VIOLATION OF SECTION 2 OF THE VOTING RIGHTS ACT OF 1965

        107. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 104 above, as if fully set forth herein.

        108. Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301,

protects Plaintiffs from denial or abridgment of the right to vote on account of race,

color, or membership in a language minority group. Section 2 provides, in relevant

part:

        (a) No voting qualification or prerequisite to voting or standard,
        practice, or procedure shall be imposed or applied by any State
        or political subdivision in a manner which results in a denial or
        abridgment of the right of any citizen of the United State to vote
        on account of race or color, or [membership in a language
        minority group].
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      (b) A violation of subsection (a) of this section is established if,
      based on the totality of circumstances, it is shown that the
      political processes leading to nomination or election in the State
      or political subdivision are not equally open to participation by
      members of a class of citizens protected by subsection (a) of this
      section in that its members have less opportunity than other
      members of the electorate to participate in the political process
      and to elect representatives of their choice.

      109. HB 268’s “exact match” voter registration protocol constitutes a

qualification or prerequisite to voting within the meaning of Section 2 of the

Voting Rights Act and results in the denial or abridgement of the right to vote of

Georgia citizens on account of their race or color in violation of Section 2.

      110. It imposes a substantial, unwarranted, and disproportionate burden on

Black, Latino, and Asian-American voters and denies them equal opportunity to

register and to vote in Georgia elections.

      111. The Georgia voter registration verification protocol interacts with

historical, socioeconomic, and other electoral conditions in Georgia to prevent

Black, Latino, and Asian-American applicants from having an equal opportunity to

register and vote. Thornburg v. Gingles, 478 U.S. 30, 47 (1986).

      112. In this case, the following circumstances are present: (1) a history of

discrimination related to voting; (2) racially polarized voting patterns; (3) members

of the impacted minority group bear the effects of discrimination in such areas as

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education, employment, and health; (4) members of the impacted minority group

are underrepresented among Georgia’s elected officials; (5) a lack of

responsiveness to the needs of the impacted minority community; and (6) an

arbitrary policy underlying the HB 268 “exact match” protocol that is tenuously

related to its stated purpose, which is to assure the identity and eligibility of voters

and prevent fraudulent or erroneous registrations.

      113. As a result of the enactment of HB 268 and under the totality of the

circumstances, the political process in Georgia is not equally open to participation

by Black, Latino, or Asian-American citizens insofar as they have less opportunity

than other members of the electorate to participate in the political process and to

elect representatives of their choice.

      114. Plaintiffs will continue to suffer the violation of their rights as alleged

in the Complaint absent relief granted by the Court.


                                  COUNT TWO
                                 42 U.S.C. § 1983
                          (VIOLATION OF THE FIRST AND
                           FOURTEENTH AMENDMENTS)

      115. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 112 above, as if fully set forth herein.




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      116. The First and Fourteenth Amendments of the United States

Constitution protect the right to vote as a fundamental right. The First

Amendment’s guarantees of freedom of speech and association protect the right to

vote and to participate in the political process. The right to vote is a fundamental

constitutional right also protected by both the due process and equal protection

clauses of the Fourteenth Amendment. See, e.g., Bush v. Gore, 531 U.S. 98, 104-

05 (2000); Harper v. Va. State Bd. of Elections, 383 U.S. 663, 670 (1966)

(Virginia’s poll tax violates the Equal Protection Clause); Anderson v. Celebrezze,

460 U.S. 780, 786-87 (1983) (the right to vote is incorporated into the Due Process

Clause).

      117. By preventing applicants from fully registering to vote until certain

application information exactly matches with corresponding fields in the DDS or

SSA databases, the Georgia voter registration process mandated by HB 268

imposes severe burdens on the fundamental right to vote of Georgia citizens. The

“exact match” protocol, along with its 26-month cancellation period, are not

narrowly drawn to advance any state interest sufficiently compelling to justify the

imposition of such severe burdens.

      118. While the burdens of this process are undeniably severe, the process

cannot pass muster even under the less restrictive Anderson-Burdick balancing test

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for more ordinary voting regulations. Burdick v. Takushi, 504 U.S. 428, 434

(1992) (holding that courts “must weigh ‘the character and magnitude of the

asserted injury to the rights protected by the First and Fourteenth Amendments that

the plaintiff seeks to vindicate’ against ‘the precise interests put forward by the

State as justifications for the burden imposed by its rule,’ taking into consideration

‘the extent to which those interests make it necessary to burden the plaintiffs

rights’” (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983))).

      119. There is no sufficient state interest justifying this “exact match”

process and 26-month cancellation period that is not already adequately protected

by preexisting criminal laws and election procedures, particularly given Georgia’s

strict voter ID law.

      120. If enforcement of the statute is not enjoined or otherwise modified to

ameliorate the severe burdens it imposes, HB 268’s “exact match” protocol will

continue to indefinitely impose severe burdens on citizens’ right to vote, requiring

Plaintiff organizations to divert resources in an attempt to remedy the deprivation.

      121. Defendant Kemp, acting in his capacity as Georgia’s Secretary of

State, is acting under color of state law to deprive Plaintiffs of the rights,

privileges, and immunities secured to them by the First and Fourteenth




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Amendments to the United States Constitution and protected under 42 U.S.C. §

1983.

        122. Plaintiffs will continue to suffer the violation of their rights as alleged

in the Complaint absent relief granted by the Court.

                            COUNT THREE
          VIOLATION OF SECTION 8 OF THE NATIONAL VOTER
            REGISTRATION ACT OF 1993, 52 U.S.C. § 20507(a)(1)

        123. Plaintiffs repeat and re-allege each and every allegation contained in

paragraphs 1 through 120 above, as if fully set forth herein.

        124. Section 8 of the NVRA, 52 U.S.C. § 20507(a)(1) requires each state to:

        (1) ensure that any eligible applicant is registered to vote in an election—

        A) in the case of registration with a motor vehicle application under section
        20504 of this title, if the valid voter registration form of the applicant is
        submitted to the appropriate State motor vehicle authority not later than the
        lesser of 30 days, or the period provided by State law, before the date of the
        election;

        (B) in the case of registration by mail under section 20505 of this title, if the
        valid voter registration form of the applicant is postmarked not later than the
        lesser of 30 days, or the period provided by State law, before the date of the
        election;

        (C) in the case of registration at a voter registration agency, if the valid voter
        registration form of the applicant is accepted at the voter registration agency
        not later than the lesser of 30 days, or the period provided by State law,
        before the date of the election; and




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      (D) in any other case, if the valid voter registration form of the applicant is
      received by the appropriate State election official not later than the lesser of
      30 days, or the period provided by State law, before the date of the election;

      52 U.S.C. § 20507(a)(1)(Emphasis added).

      125. Congress’ purpose in passing the NVRA was to “increase the number

of eligible citizens who register to vote in elections”; “enhance[] the participation of

eligible citizens as voters”; and protect the active role that community-based voter

registration groups play in the registration process. 52 U.S.C. § 20501.

      126. The NVRA was intended to “ensure that no American is denied the

ability to participate in Federal elections because of real or artificial barriers . . .

[and] to make voter registration an inclusive, rather than an exclusive opportunity in

the United States.” 139 Cong. Rec. H495-04 (1993) (statement of Rep. Martin

Frost).

      127. HB 268’s “exact match” voter registration protocol violates Section 8

of the NVRA because it prevents voter registration applicants who submit timely,

facially complete and accurate voter registration forms from being registered as

active voters on the Georgia voter registration list for upcoming elections. In other

words, Georgia is failing to ensure that those applicants are registered to vote for

elections as required by Section 8 of the NVRA.




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      128. Thus, HB 268’s “exact match” protocol and Defendant Kemp’s

implementation of it will continue to negatively impact the ability of voting-eligible

Georgians to complete the voter registration process in violation of Section 8 of the

NVRA unless the Court orders relief to enjoin enforcement of this process.

      129. On July 18, 2018, Plaintiffs’ counsel served Defendant Kemp with

notice of the violation of Section 8 of the NVRA. A copy of said written notice is

attached and incorporated herein by reference as Exhibit 2. To date, Defendant

Kemp has not responded to Plaintiffs’ counsel with any evidence that he has

implemented, or will implement, remedial action. Therefore, Plaintiffs have no

recourse by to commence litigation to obtain remedial relief from the Court.

                             PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs respectfully pray that the Court:

      1.     Enter judgment in favor of Plaintiffs and against Defendant Kemp on

the claims for relief as alleged in this Complaint;

      2.     Enter a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202

declaring that HB 268’s “exact match” protocol for voter registration (a) violates

Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301, (b) violates the

fundamental right to vote under the First and Fourteenth Amendments and (c)




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violates Section 8 of the National Voter Registration Act of 1993, 52 U.S.C. §

20507.

      3.      Grant Plaintiffs preliminary and/or permanent injunctive relief by

enjoining the enforcement of HB 268 and by ordering Defendant Kemp, his

employees, agents, servants and his successors to undertake the following remedial

actions:

           a. Enjoin enforcement of the 26-month cancellation period mandated by

              HB 268;

           b. Place, in active status, all applicants who are either (1) currently in

              “pending” status due to a failure to match or (2) had their voter

              registration applications cancelled as a result of a failure to match

              based on DDS, SSA or citizenship information since November 17,

              2016;

           c. Require the voter registration applicants referenced in paragraph (b) to

              produce the following when they attempt to vote, if they have not

              already submitted HAVA ID or evidence of their citizenship at the

              time they submitted their registration form:

                  i. an acceptable form of HAVA ID, by giving it in person to a

                      poll worker when they vote for the first time, or by sending a

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            copy of it in the mail if they are requesting an absentee ballot;

            or

        ii. if a voter registration applicant is inaccurately flagged as a non-

            citizen, evidence of their United States citizenship;


  d. Allow county election officials to permit eligible voters who

     registered to vote, but who are inaccurately flagged as non-citizens

     to vote a regular ballot by furnishing proof of citizenship to poll

     workers or deputy registrars;

  e. Permit voter registration applicants inaccurately flagged as non-

     citizens who wish to vote by mail to furnish their proof of citizenship

     electronically, by mail, or by fax;

  f. Require Defendant to transmit any Order of this Court granting

     preliminary or final injunctive relief to county boards of elections;

  g. Require Defendant to cause the counties to post a list of acceptable

     documentation to prove citizenship, which includes a naturalization

     certificate, birth certificate issued by a state or territory within the

     United States, U.S. passport, and other documents or affidavits

     explicitly identified by Georgia law and listed on the Georgia

     Secretary of State’s website, at polling places on Election Day;

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           h. Require Defendant to conduct training of poll workers to ensure they

              understand and can properly confirm citizenship status consistent with

              Georgia law;

           i. Count, in the November 2018 election and all future elections, (1) all

              absentee ballots cast by Georgia voters using non-photographic forms

              of identity pursuant to O.C.G.A. § 21-2-417(c), and (2) all provisional

              ballots cast by Georgia voter registration applicants who are in

              pending status because they have been inaccurately flagged as a

              potential “non-citizen”;

           j. Enforce a strict protocol that when voter registration applicants are

              flagged as “non-citizen” by DDS or produce “no-match” from the

              DDS or SSA databases, before contacting the applicant about the

              issue, registrars must check the initial registration. If proof of

              citizenship or identity was provided, voters should mark those

              requirements as met.

      4.      Order that Defendant Kemp, his employees, agents, servants and

successors maintain, preserve, and not destroy until after December 31, 2028, any

and all records relating to HB 268 and its implementation.




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      5.       Order that the Court shall retain jurisdiction over the Defendant and

his successors for such period of time as may be appropriate to ensure compliance

with relief ordered by this Court;

      6.       Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to

statute; and

      7.       Grant Plaintiffs such other and further relief as may be just and

equitable.




Dated: October 19, 2018           Respectfully submitted,

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